Case 1:23-cv-00142-BLW Document 35-2 Filed 04/13/23 Page 1 of 7




             Exhibit 2
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                      Case 1:23-cv-00142-BLW     Document 35-2 Filed 04/13/23 Page 2 of 7




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                                             UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF IDAHO
                                                  SOUTHERN DIVISION

              PLANNED PARENTHOOD GREAT
              NORTHWEST, HAWAII, ALASKA, INDIANA,
              KENTUCKY, on behalf of itself, its staff, physicians
              and patients, CAITLIN GUSTAFSON, M.D., on
              behalf of herself and her patients, and DARIN L.
              WEYHRICH, M.D., on behalf of himself and his
              patients,
                             Plaintiffs,                                  Case No. 1:23-cv-142
                      v.

              RAÚL LABRADOR, in his official capacity as
              Attorney General of the State of Idaho; MEMBERS
              OF THE IDAHO STATE BOARD OF MEDICINE
              and IDAHO STATE BOARD OF NURSING, in their
              official capacities, COUNTY PROSECUTING
              ATTORNEYS, in their official capacities,

                               Defendants.
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                      Case 1:23-cv-00142-BLW     Document 35-2 Filed 04/13/23 Page 3 of 7




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                      Case 1:23-cv-00142-BLW     Document 35-2 Filed 04/13/23 Page 4 of 7




                              SUPPLEMENTAL DECLARATION OF REBECCA GIBRON

                     I, Rebecca Gibron, hereby declare as follows:

                     1.       I am over the age of eighteen. I make this supplemental declaration based on

             personal knowledge of the matters stated herein and on information known or reasonably available

             to my organization. If called to do so, I am competent to testify as to the matters contained herein.

                     2.       I am the CEO of Planned Parenthood Great Northwest, Hawaii, Alaska, Indiana,

             Kentucky (“Planned Parenthood”), a not-for-profit corporation organized under the laws of the

             State of Washington and doing business in Idaho. I submit this supplemental declaration in support

             of Plaintiffs’ Motion for Preliminary Injunctive Relief.

                     3.       In my previous declaration, I stated that “[t]he Attorney General’s overbroad

             interpretation of Idaho Code § 18-622 [in his March 27, 2023 letter] will prevent Planned

             Parenthood and our dedicated team of medical professionals from fulfilling” our mission of

             providing “comprehensive reproductive health services.” Gibron Decl. (ECF No. 2-2) ¶¶ 15-16.

             Specifically, I stated that medical personnel “will be forced to stop providing information and

             recommendations about abortion services because they fear criminal prosecution and losing their

             professional licenses” and that they fear that “provid[ing] abortions outside of Idaho . . . could

             result in the revocation of their Idaho licenses despite the fact that abortion is lawful in those other

             states.” Id. ¶¶ 17, 24.

                     4.       On April 7, 2023, I learned of and read Attorney General Labrador’s second letter

             withdrawing his March 27 letter. See Craft Decl. Ex. A.

                     5.       I understand that Lincoln Wilson, the Attorney General’s Civil Litigation and

             Constitutional Defense Division Chief, has since made clear in conversations with my attorneys

             that the original March 27 letter was rescinded on procedural grounds. I further understand that,



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                      Case 1:23-cv-00142-BLW     Document 35-2 Filed 04/13/23 Page 5 of 7




             in response to direct questioning from my attorneys regarding whether, given the withdrawal of

             the letter, the Attorney General’s office is still taking the position that a referral for out-of-state

             abortions violates Idaho Code § 18-622(2), Mr. Wilson responded that no inference can be drawn

             about what the position of the Attorney General’s office would be in such a situation.

                     6.       Because the Attorney General has refused to say that Idaho Code § 18-622 does not

             bar referrals for out-of-state abortions or extend to abortions performed outside of Idaho, I remain

             concerned that the Attorney General still believes that the legal reasoning in the March 27 letter

             was correct and that he may use that reasoning to penalize Planned Parenthood providers and staff

             for supplying information about or providing out-of-state abortion care.

                     7.       The Attorney General’s actions still appear to be “calculated to increase confusion

             about what remains legal and what does not, by construing Idaho’s abortion ban to apply in some

             way to at least some abortions in other states.” Gibron Decl. ¶ 23. Thus, the harm to Planned

             Parenthood, our providers, and our patients continues unabated.

                     8.       Our medical providers are still unable to ensure care for our patients by

             recommending providers in other states who can provide the necessary abortion care that Idaho

             does not permit. Licensed providers and other staff at our Idaho health centers are still unable to

             provide information and recommendations about abortion services because they fear criminal

             prosecution and losing their professional licenses.

                     9.       Planned Parenthood’s staff continue to fear they could be subjected to attempts to

             bring civil or even criminal charges against them.

                     10.      Moreover, Planned Parenthood providers are still concerned about the licensure

             penalties for providing referrals to patients for out-of-state abortions or otherwise giving “support

             or aid” to patients seeking abortions. Certain Planned Parenthood providers who are licensed in



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                      Case 1:23-cv-00142-BLW     Document 35-2 Filed 04/13/23 Page 6 of 7




             Idaho wish to provide abortions outside of Idaho but continue to fear that doing so could result in

             the revocation of their Idaho licenses despite the fact that abortion is lawful in those other states.

             Other Planned Parenthood providers who are licensed in Idaho and another state are still

             considering giving up their Idaho licenses altogether to avoid the still-looming threat to their

             licenses.

                     11.      Beyond the credible fears of Planned Parenthood providers and staff, I also remain

             concerned about the harm to our patients. As I explained in my prior declaration, some patients

             will not know how to access abortion outside of Idaho or will face delays in accessing this

             information and in accessing the care itself. Id. ¶¶ 18-19. This poses risks to our patients’ health,

             particularly for our patients who are people of color or are low income or who live in rural areas.

             Id. ¶¶ 20-21.

                     12.      In short, the Attorney General’s April 7 letter has not allayed my fears or those of

             Planned Parenthood staff and providers about threats of licensure penalties or even criminal

             charges. This continues to pose threats to Idahoans’ health.




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                      Case 1:23-cv-00142-BLW     Document 35-2 Filed 04/13/23 Page 7 of 7




                     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

             and correct.
                                                                    
                     Executed on April __, 2023 in ________________, ____________.



                                                                  ________________________________

                                                                  Rebecca Gibron




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